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               EXHIBIT 15
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      STANLEY J.· HARRELSON·                                     October 23, 2012
      MONTEREY BAY vs. PINNACLE MONTEREY                                        1

·1· · · · · · SUPERIOR COURT OF THE STATE OF CALIFORNIA

·2· · · · · · · · · · · · COUNTY OF MONTEREY

·3· ·___________________________________________________________

·4
· ·   ·   ·MONTEREY BAY MILITARY HOUSING, LLC,· · · · )
·5·   ·   ·et al.,· · · · · · · · · · · · · · · · · · )
· ·   ·   · · · · · · · · · · · · · · · · · · · · · · )
·6·   ·   · · · · · · · Plaintiffs,· · · · · · · · · ·) Case No.
· ·   ·   · · · · · · · · · · · · · · · · · · · · · · )
·7·   ·   · · · · ·vs.· · · · · · · · · · · · · · · · ) M112710
· ·   ·   · · · · · · · · · · · · · · · · · · · · · · )
·8·   ·   ·PINNACLE MONTEREY LLC, et al.,· · · · · · ·) (M115143)
· ·   ·   · · · · · · · · · · · · · · · · · · · · · · )
·9·   ·   · · · · · · · Defendants.· · · · · · · · · ·)
· ·   ·   ·_________________________________________· )
10·   ·   ·And related consolidated action.· · · · · ·)
· ·   ·   · · · · · · · · · · · · · · · · · · · · · · )
11
· ·   ·___________________________________________________________
12

13
· ·   ·   ·   ·   ·   ·VIDEOTAPED   DEPOSITION OF PMK REPRESENTATIVE
14·   ·   ·   ·   ·   · · · · · ·   ·STANLEY J. HARRELSON
· ·   ·   ·   ·   ·   · · · · · ·   · October 23, 2012
15·   ·   ·   ·   ·   · · · · · ·   ·Seattle, Washington

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· ·   ·Reported by:
24·   ·Mary W. Miller, RPR, CRR, CCP
· ·   ·CCR No. 2056
25·   ·Job No. Seattle 381378/Chicago 381360


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·1· ·to the fee stream?· And you can refer to the operating
·2· ·agreement if you'd like.
·3· · · ·A.· Why is it the first page I turn to had the word
·4· ·insanity on it.· Bear with me.· This isn't marked up.· Under
·5· ·3.15 services, where the members acknowledge and consent to
·6· ·the following and paren (3) where it states, "MBMH shall
·7· ·enter into one or more property management agreements," et
·8· ·cetera.
·9· · · ·Q.· With Pinnacle Realty Management Company, that's who
10· ·you're referring to?
11· · · ·A.· Yes, or the Pinnacle member service contracts, yeah.
12· · · ·Q.· Why didn't you use the same entity to own the equity
13· ·interest in the Clark Pinnacle Monterey Bay LLC company that
14· ·would also -- withdraw.· I'm going to ask the question
15· ·again.
16· · · · · ·Why didn't you use the same entity to both own an
17· ·interest in Clark Pinnacle Monterey Bay LLC and to manage
18· ·the property management operations of MBMH?
19· · · · · · · ·MR. HILDEBRAND:· Objection to form.
20· · · ·A.· Generally speaking, the Pinnacle Monterey LLC entity
21· ·was the equity holder of the interest which is different
22· ·than the business of AMS in general, which is to be a
23· ·service provider.· So we essentially did not compromise
24· ·that, that line, if you will.
25· · · ·Q.· Other than not compromising that line, was there any


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·1· ·other reason why you used separate entities as opposed to
·2· ·using the same entity to own the equity and to manage the
·3· ·property operations?
·4· · · · · · · ·MR. HILDEBRAND:· Objection to form.
·5· · · ·A.· Generally, and I can think of several.· The service
·6· ·industry requires certain licensure to effectuate the
·7· ·business.· AMS was structured and capable of providing those
·8· ·services not only to the Monterey project, but also to other
·9· ·third party clientele in the state of California, and there
10· ·are risks associated with the management company that we
11· ·think had no bearing on the equity position held at the
12· ·Pinnacle Monterey level.· Further, AMS is the employer of
13· ·all persons who are going to carry out the management
14· ·responsibilities.· Pinnacle Monterey members were only those
15· ·that held an equity interest in the project.
16· · · ·Q.· On the Monterey deal who at JLL did you negotiate
17· ·the fees with?· Was it Mr. Christopher Roth?
18· · · ·A.· I didn't have necessarily any one-on-one dialogue
19· ·with them unless it was an off time over dinner.· But Roth
20· ·is the name that you've reminded me of by showing me a copy
21· ·of this.· I believe there were two of them and I just don't
22· ·recall the other gentleman's name.
23· · · ·Q.· The answer you just gave about why you used separate
24· ·entities to own the ownership piece at Monterey as opposed
25· ·to the property management piece, is that the same reason


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·1· · · ·Q.· I think I asked you this, but the fees at Irwin were
·2· ·also within the range of market rates, is that true?
·3· · · ·A.· Generally so.
·4· · · ·Q.· Have you or anyone at your direction or to your
·5· ·knowledge anyone associated with AMS, LLC ever done any type
·6· ·of return on equity calculation for either the Monterey or
·7· ·Irwin projects?
·8· · · · · · · ·MR. HILDEBRAND:· Objection to form.
·9· · · ·A.· Return on equity?
10· · · ·Q.· Yes.
11· · · ·A.· I don't believe that AMS did a return on equity
12· ·calculation per se.· There is such a calculation that's done
13· ·as part of the project specific proforma created
14· ·substantially by Clark, and they called out under a specific
15· ·tab entitled PRMC benefits what they perceived was a return
16· ·on equity.
17· · · ·Q.· And that proforma return on equity calculation did
18· ·not involve a return on fees, right?· That was just a return
19· ·on equity?
20· · · ·A.· I don't recall -- I just recall it being there.· I
21· ·don't know that I recall the composition of it, whether it
22· ·was fees and potential future cash flows.
23· · · ·Q.· Have you or anyone at your direction or anyone at
24· ·AMS, to your knowledge, done any type of return on
25· ·investment analysis with respect to AMS's or its affiliate's


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·1· ·investment at Monterey or Irwin?
·2· · · · · · · ·MR. HILDEBRAND:· Objection to form.
·3· · · ·A.· We have done calculations to determine what the
·4· ·expected benefits of the assignment were to be and that
·5· ·included the fees.
·6· · · ·Q.· Describe those calculations for me.· Is that where
·7· ·you just looked at the fee stream out over 50 years?
·8· · · ·A.· 50 years, yeah.
·9· · · ·Q.· And apart from looking at the fee stream out over 50
10· ·years, have you or anyone at your direction or anyone else
11· ·at AMS done any type of return on investment analysis?
12· · · · · · · ·MR. HILDEBRAND:· Objection to form.
13· · · ·A.· I think we looked at it really as the equity we're
14· ·putting up was in exchange for the fees to be received.
15· ·That's sort of the investment analysis we would have done.
16· · · ·Q.· Let me just try here.· I want to make sure you
17· ·understand my question.
18· · · ·A.· Okay.
19· · · ·Q.· I'm looking for hard copy analysis.· Have you -- I
20· ·probably didn't make that clear.· Have you or anyone at your
21· ·direction or anyone at AMS done an analysis where they
22· ·looked at the return on investment for AMS or any of its
23· ·affiliates other than calculating the fee stream out for 50
24· ·years?
25· · · · · · · ·MR. HILDEBRAND:· Objection to form.


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·1· · · ·A.· I don't believe so, Jeff.· I think our analysis has
·2· ·been primarily on the fee stream over that time.
·3· · · ·Q.· And the fee stream is the fee stream that AMSC, Inc.
·4· ·was to receive over 50 years at Monterey and Irwin?
·5· · · ·A.· Correct.
·6· · · ·Q.· Was there any discount rate used in that analysis to
·7· ·present value those fees?
·8· · · · · · · ·MR. HILDEBRAND:· Objection to form.
·9· · · ·A.· There may have been.· I don't recall.· It's not
10· ·something I've looked at.
11· · · ·Q.· What was the purpose of --
12· · · · · · · ·MR. HILDEBRAND:· Just a minute.· If you aren't
13· ·finished with your answer, go ahead.
14· · · ·A.· No.· I just said it's not something I've looked at
15· ·very much recently.
16· · · ·Q.· What was the purpose of calculating out AMSC, Inc.'s
17· ·project fees over 50 years at Monterey and Irwin?
18· · · · · · · ·MR. HILDEBRAND:· Objection to form.
19· · · ·A.· What was the purpose?· It was just to determine what
20· ·they were going to be over a period of time.
21· · · ·Q.· And just so I'm clear, as far as a return on equity
22· ·investment, AMS has never done any calculation like that but
23· ·you've seen calculations done that by Clark affiliates?
24· · · · · · · ·MR. HILDEBRAND:· Objection to form.
25· · · ·A.· Yes.


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·1· · · ·Q.· At the Irwin project did you or anyone from AMS ever
·2· ·state to anyone at JLL or the Army that there was some 70/30
·3· ·split agreement on fees between AMS and Clark affiliates?
·4· · · · · · · ·MR. HILDEBRAND:· Objection to form.
·5· · · ·A.· Similar to my response for Monterey, I don't believe
·6· ·we had any direct discussions of that nature with JLL or
·7· ·with Army.
·8· · · · · · · · · (Exhibit No. 015 marked
·9· · · · · · · · · ·for identification.)
10· · · ·Q.· I hand to you Deposition Exhibit 15.· 15 is an email
11· ·from David Krull, general counsel of AMS, LLC to Mike Rouen
12· ·and Lon Sperry and it's dated November of 2005.· He
13· ·states, "AMS East was formed in 2003, not 2005 as indicated.
14· ·Also there is no such thing as Pinnacle, in quotes.· It is
15· ·incorrect to say we are an affiliate of Pinnacle.· Pinnacle
16· ·is a DBA only."· Do you see that?
17· · · ·A.· I do.
18· · · · · · · ·MR. HILDEBRAND:· Objection to form and also to
19· ·the document as being outside the scope of the PMK topics.
20· ·However, at least for a while I'll let it continue.
21· · · ·Q.· Do you agree with your general counsel that there is
22· ·no such thing as Pinnacle, it is incorrect to say that we
23· ·are an affiliate of Pinnacle, Pinnacle is a DBA only?
24· · · · · · · ·MR. HILDEBRAND:· Objection to form.
25· · · ·A.· I think Pinnacle is exactly a DBA.· It's the general


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